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10

11                                    UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                        SAN FRANCISCO DIVISION

14   UNITED STATES OF AMERICA,                         )
                                                       )   No.: CR 18-0119 RS
15           Plaintiff,                                )
                                                       )
16      v.                                             )   STIPULATION TO EXCLUDE TIME FROM JUNE
                                                       )   14, 2022 THROUGH SEPTEMBER 13, 2022 AND
17   JONATHAN AGUILAR, et al.                          )   ORDER
                                                       )
18           Defendants.                               )
                                                       )
19                                                     )

20
             It is hereby stipulated by and between counsel for the United States and counsel for defendants
21
     Jonathan Aguilar, Juan Carlos Gallardo, Orlando Hernandez, Michael Rebolledo, Mario Reyes, Eddy
22
     Urbina, and Weston Venegas that time be excluded under the Speedy Trial Act from June 14, 2022
23
     through September 13, 2022.
24
             At the status conference held on June 14, 2022, the government and counsel for the defendants
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     agreed that time be excluded under the Speedy Trial Act so that defense counsel could continue to
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     prepare, including by reviewing discovery and assessing what motions should be filed in light of
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     evolving circumstances in the case. For this reason and as further stated on the record at the status
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     STIPULATION TO EXCLUDE TIME AND ORDER
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 1 conference, the parties stipulate and agree that excluding time until September 13, 2022 will allow for

 2 the effective preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv). The parties further stipulate

 3 and agree that the ends of justice served by excluding the time from June 14, 2022 through September

 4 13, 2022 from computation under the Speedy Trial Act outweigh the best interests of the public and the

 5 defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

 6          The undersigned Assistant United States Attorney certifies that he has obtained approval from

 7 counsel for the defendant to file this stipulation and proposed order.

 8 SO STIPULATED.

 9

10 Dated: June 15, 2022                                    STEPHANIE M. HINDS
                                                           United States Attorney
11

12                                                   By:          /s/
                                                           ANDREW M. SCOBLE
13                                                         RICHARD EWENSTEIN
                                                           Assistant United States Attorneys
14

15 Dated: June 15, 2022                                          /s/
                                                           MARTHA BOERSCH
16                                                         Counsel for Jonathan Aguilar
17
     Dated: June 15, 2022                                         /s/
18                                                         JULIA MEZHINSKY JAYNE
                                                           Counsel for Juan Carlos Gallardo
19

20
     Dated: June 15, 2022                                         /s/
21                                                         HARRIS BRUCE TABACK
                                                           Counsel for Orlando Carlos Hernandez
22
     Dated: June 15, 2022                                         /s/
23                                                         MARK GOLDROSEN
                                                           PAM HERZIG
24                                                         DONALD KNIGHT
                                                           AMY P. KNIGHT
25                                                         Counsel for Michael Rebolledo
26

27

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     STIPULATION TO EXCLUDE TIME AND ORDER Case No. CR
     18-0119 RS
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 1 Dated: June 15, 2022                                          /s/
                                                           GEORGE C. BOISSEAU
 2                                                         Counsel for Mario Reyes

 3 Dated: June 15, 2022                                           /s/
                                                           SHAFFY MOEEL
 4                                                         JAMES S. THOMSON
                                                           Counsel for Eddy Urbina
 5
     Dated: June 15, 2022                                        /s/
 6                                                         GAIL SHIFMAN
                                                           Counsel for Weston Venegas
 7

 8
                                                      ORDER
 9
            Based upon the facts set forth in the stipulation of the parties and the representations made to the
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     Court on June 14, 2022 and for good cause shown, the Court finds that failing to exclude the time from
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     June 14, 2022 through September 13, 2022 would unreasonably deny defense counsel and the defendant
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     the reasonable time necessary for effective preparation, taking into account the exercise of due diligence.
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     18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by excluding the
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     time from June 14, 2022 to September 13, 2022 from computation under the Speedy Trial Act outweigh
15
     the best interests of the public and the defendant in a speedy trial. Therefore, and with the consent of the
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     parties, IT IS HEREBY ORDERED that the time from June 14, 2022 through September 13, 2022 shall
17
     be excluded from computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).
18

19          IT IS SO ORDERED.

20
           June 15, 2022
21 DATED: ___________________                                     ____
                                                                  HON. RICHARD SEEBORG
22                                                                United States District Judge

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     STIPULATION TO EXCLUDE TIME AND ORDER Case No. CR
     18-0119 RS
